Case 8:15-cv-00339-JLS-JCG Document 123 Filed 03/23/16 Page 1 of 1 Page ID #:1899




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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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11   RUBY DILLON on behalf of herself and          CASE NO: SACV15-00339 JLS (JCG)
     her minor child A.M. as her guardian ad
12   litem,                                        BEFORE THE HONORABLE
                                                   JOSEPHINE L. STATON
13               Plaintiff,                        COURTROOM 10A
14   v.                                            FINAL JUDGMENT
15   HAROLD LAFLAMME, et al,
16               Defendants.
17
18         Pursuant to the Court’s Order dated March 2, 2016, all claims having been
19   adjudicated in favor of Defendants,
20         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Plaintiff
21   RUBY DILLON shall take nothing by way of her first amended complaint against
22   Defendants. Defendants, as prevailing party, may seek to recover costs in accordance
23   with Local Rule 54-2.1.
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25   DATED: March 23, 2016
                                           _____________________________________
26
                                           THE HONORABLE JOSEPHINE L. STATON
27                                         UNITED STATES DISTRICT JUDGE
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